Case 1:18-cr-00204-NGG              Document 932-1 Filed 09/26/20                          Page 1 of 1 PageID #:
                                              16342

 From:           Suneel Chakravorty
 To:             Feedback, Civil; Lesko, Mark (USANYE); Donoghue, Richard (USANYE); DuCharme, Seth (USANYE); Hajjar,
                 Tanya (USANYE)
 Cc:             Eduardo Asunsolo
 Subject:        Will you support public accountability?
 Date:           Friday, September 25, 2020 4:58:43 PM
 Attachments:    Petition_and_Affidavit.pdf


 Dear Ms. Penza, Ms. Hajjar, Mr. Lesko, Mr. Donoghue, and Mr. DuCharme:

 Please find attached a document containing a petition, an affidavit, and some signatures of
 support from media.

 The affidavit contains 8 simple statements that we would like you all to review and respond to,
 either affirming or denying each point, regarding your conduct, and that of your office, in the
 case of USA v. Keith Raniere et. al (18-cr-204).

 Please honor this demand for public accountability to the people you serve and respond to the
 affidavit no later than 5PM ET on Wednesday, September 30. Also please confirm receipt of
 this email.

 You may email me or team@makejusticeblind.com.

 Thank you,
 Suneel Chakravorty
